Case 3:09-cv-20132-DRH-PMF Document 26 Filed 05/05/10 Page 1 of 1 Page ID #257



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF ILLINOIS

 ------------------------------------------------------------ X

 IN RE YASMIN AND YAZ (DROSPIRENONE):                                 3:09-md-02100-DRH-PMF
 MARKETING, SALES PRACTICES AND
 RELEVANT PRODUCTS LIABILITY                                  :       MDL No. 2100
 LITIGATION
                                                              :
 ------------------------------------------------------------
 LISA MANNING, Guardian and Next Friend :                             Judge David R. Herndon
          of T.M., a Minor

                   Plaintiff                                    :
 vs.
                                                                :
 BAYER CORPORATION et al.,                                      :

 Defendants.                                                    :Civil Action No.: 3:2009-cv-20132

 ------------------------------------------------------------   X

          ORDER GRANTING LEAVE TO FILE FIRST AMENDED COMPLAINT

          Upon consideration of Plaintiff’s Motion for Leave to File a First Amended

 Complaint (3:2009-cv-20132 Doc. 25), the Court hereby ORDERS as follows:

 Plaintiff’s Motion is GRANTED. Further, the Court DIRECTS Plaintiff to file the

 amended complaint instanter.

 SO ORDERED:



  /s/ DavidRHer|do|
 Chief Judge
 United States District Court                                   DATE: May 5, 2010
